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                  IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF NEW JERSEY


  UNITED STATES OF AMERICA
                                         HONORABLE JEROME B. SIMANDLE
        v.

  WILLIAM OSCAR HARRIS,                           Criminal Action
                                                No. 03-354-01 (JBS)
                   Defendant.
                                                         OPINION


 APPEARANCES:

 William Oscar Harris, pro se
 No. 40743050
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 SIMANDLE, Chief Judge:

      This matter comes before the Court on Defendant William

 Oscar Harris’ “motion for relief from void judgment” and “motion

 for preliminary injunction and order to show cause” [Docket Item

 570], as well as his “motion for stay” [Docket Item 572.]

 Defendant asserts that his conviction is void because he “never

 acceded knowingly or otherwise to the territorial and personal

 jurisdiction of this Court.” He seeks an order enjoining Eric H.
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 Holder, Charles E. Samuels, Jr., and Leann LaRiva “from

 violating and trampling upon” his civil rights. Defendant also

 asks that the Court hold in abeyance his motion for relief from

 judgment and issue an order compelling arbitration between him

 and above-named individuals. The government opposes Defendant’s

 motion for relief from judgment. [Docket Item 571.] For the

 reasons discussed below, the Court will deny Defendant’s

 motions.

      The Court has detailed the lengthy history of this complex

 criminal case in several prior opinions.1 It is sufficient to

 note that this case involves nine defendants, all American-born,

 but all alleged members of an organization called the Al

 Moroccan Empire or Moors, who were charged with conspiracy to

 produce and pass, and with producing and passing, false and

 fictitious money orders purporting to be authorized by the

 United States Department of Transportation and the United States


 1 See, e.g., United States v. Harris, Crim. 03-354 (JBS), 2008 WL
 482347 (D.N.J. Feb. 20, 2008), aff’d, 582 F.3d 512 (3d Cir.
 2009) (denying Defendant Harris’ motion to terminate sentence
 for civil contempt); United States v. Wooten, Crim. 03-354-03
 (JBS), 2004 WL 2064894 (D.N.J. Aug. 30, 2004), aff’d sub nom.
 United States v. Harris, 271 F. App’x 188 (3d Cir. 2008)
 (denying Defendant Wooten’s motion for new trial); United States
 v. Harris, 332 F. Supp. 2d 692 (D.N.J. Aug. 18, 2004) (denying
 Defendant Harris’ motion to require indictment of the sentencing
 factors charged against them); United States v. Harris, Crim.
 03–354, 2003 WL 23602548 (D.N.J. Aug. 14, 2003) (concluding that
 Defendants Harris, Wooten, Outterbridge, and McCurdy could not
 represent themselves pro se and memorializing their civil
 contempt at hearing).
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 Department of the Treasury in amounts which total more than ten-

 million dollars, in violation of 18 U.S.C. § 371 (conspiracy

 Count 1) and 18 U.S.C. §§ 514(a)(2) and 2 (substantive Counts 2–

 25). On June 7, 2004, the trial commenced as to Defendant Harris

 and four other defendants, and on July 2, 2004, the jury found

 Defendant Harris and the other four defendants guilty on all

 counts.

      Following a sentencing hearing on October 22, 2004, this

 Court sentenced Harris to 188 months of incarceration, five

 years of supervised release, a fine of $17,500, and restitution

 of $91,977. [Docket Item 380.] Defendant’s period of

 incarceration was to commence after his confinement for civil

 contempt. United States v. Harris, 582 F.3d 512, 514 (3d Cir.

 2009). The Third Circuit affirmed this Court’s judgment of

 sentence as to Defendant Harris, as well as this Court’s denial

 of his motion to vacate the order of civil contempt. Id. at 513.

 Harris never filed a motion for relief under 28 U.S.C. § 2255.

      Defendant’s motion for relief from judgment is both

 procedurally defective and substantively deficient. “Rule 60(b)

 cannot be used as an independent means to relieve a defendant of

 a judgment in a criminal case[] because the Federal Rules of

 Civil Procedure are not applicable to criminal cases.” Gray v.

 United States, 385 F. App’x 160, 162 (3d Cir. 2010). Thus, a

 district court’s refusal to consider a motion for relief from a

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 judgment in a criminal case under Rule 60(b), Fed. R. Civ. P.,

 is proper. Id. Rule 60(b) does not confer jurisdiction upon this

 court to entertain defendant’s challenge to his criminal

 conviction.

      Even if the Court were to construe Defendant’s motion for

 relief from judgment as a motion under 28 U.S.C. § 2255 or §

 2241, it lacks merit and must be dismissed.2 It is apparent that

 Defendant’s motion is based on the belief that he and his co-

 defendants are sovereigns of an empire that predates the United

 States and that the United States cannot subject them to its

 criminal laws. This Court has addressed on numerous occasions

 its jurisdiction over Mr. Harris who was accused of committing




 2 Defendant expressly states that this matter “is NOT being
 brought forward to this Court pursuant to 28 U.S.C. §§ 2241
 and/or 2255 or otherwise to attack a criminal sentence imposed
 by this Court.” Nevertheless, it is clear that Defendant seeks
 to challenge the validity of his federal conviction and/or
 sentence, which generally must be brought under 28 U.S.C. §
 2255. See Jackman v. Shartle, 535 F. App’x 87, 88 (3d Cir. 2013)
 (per curiam) (citing Okereke v. United States, 307 F.3d 117, 120
 (3d Cir. 2002)). Here, the Third Circuit affirmed Defendant
 Harris’ sentence on March 31, 2008. [Docket Item 532.] His
 judgment of conviction became final 90 days hence. See Kapral v.
 United States, 166 F.3d 565, 577 (3d Cir. 1999). As such,
 Defendant is well beyond the one-year statute of limitations
 under § 2255 and any petition thereunder is thus untimely.
 Additionally, Defendant has not shown that the remedy under §
 2255 is “inadequate or ineffective.” See 28 U.S.C. § 2255(e);
 Cradle v. U.S. ex rel. Miner, 290 F.3d 536, 539 (3d Cir. 2002)
 (“Section 2255 is not inadequate or ineffective merely because
 the sentencing court does not grant relief, the one-year statute
 of limitations has expired, or the petitioner is unable to meet
 the stringent gatekeeping requirements of . . . § 2255.”).
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 federal crimes in this district. It remains a frivolous

 argument, since Congress has conferred upon this District Court

 and its Article III judges the power to adjudicate federal

 criminal offenses alleged by the United States.3 See U.S. Const.

 Art. III, § 1 (“The judicial power of the United States, shall

 be vested in one supreme Court, and in such inferior Courts as

 the Congress may from time to time ordain and establish.”); 18

 U.S.C. § 3231.4 Accordingly, Defendant’s motion for relief from

 judgment based on lack of jurisdiction is meritless.5




 3 This Court previously rejected Harris’ jurisdictional challenge
 in its Opinion Regarding Jurisdiction, Aug. 15, 2003. [Docket
 Items 101 & 102.]
 4 Harris, in his reply [Docket Item 574], relies on 40 U.S.C. §§

 3111 and 3112 and argues that the Government “never established
 how the federal enclave, the United States District of New
 Jersey, obtained its land from New Jersey state to establish its
 jurisdiction to institute a federal criminal prosecution against
 HARRIS, while he was at all times during the alleged criminal
 acts . . . at either his office in Atlantic City . . . or at his
 home/office in Brigantine, Atlantic County, New Jersey.” The
 “enclave jurisdiction” of the United States is wholly irrelevant
 in the present case because none of the charges relied on the
 government’s enclave jurisdiction. See United States v. Davis,
 726 F.3d 357, 363 (2d Cir. 2013) (discussing sufficiency of
 evidence to establish government’s enclave jurisdiction).
 5 Even if Rule 65, Fed. R. Civ. P., applied to this matter, which

 it does not, Defendant’s baseless assertions regarding
 jurisdiction are inadequate to show entitlement to a preliminary
 injunction. A preliminary injunction “is an extraordinary remedy
 . . . which should be granted only in limited circumstances.”
 Am. Tel. & Tel. Co. v. Winback & Conserve Program, Inc., 42 F.3d
 1421, 1427 (3d Cir. 1994) (citation omitted). It is clear, in
 light of the foregoing, that Defendant cannot show any
 likelihood of success on the merits. McNeil Nutritionals, LLC v.
 Heartland Sweeteners, LLC, 511 F.3d 350, 356–57 (3d Cir. 2007).
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      Defendant’s motion for stay and to compel arbitration

 similarly must fail. The Court recognizes that “[a] party to a

 valid and enforceable arbitration agreement is entitled to a

 stay of federal court proceedings pending arbitration as well as

 an order compelling such arbitration.” Alexander v. Anthony

 Int’l, L.P., 341 F.3d 256, 263 (3d Cir. 2003). However,

 Defendant’s contention that his frivolous arguments regarding

 jurisdiction are somehow subject to an arbitration agreement is

 absurd and legally frivolous. Certainly, he has provided no

 evidence of any such agreement. The requests for admission in a

 series of unrelated civil matters, which Defendant appends to

 his motion for stay, document nothing more than his ongoing

 efforts to harass government officials through unsupported

 claims and filings. Therefore, the Court will deny Defendant’s

 motion for stay. The accompanying Order will be entered denying

 these motions.



 January 13, 2015                             s/ Jerome B. Simandle
 Date                                        JEROME B. SIMANDLE
                                             Chief U.S. District Judge




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